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Case 1:05-cv-00377-WDM-BNB Document 167-4 Filed 02/15/07 USDC Colorado

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10/31/2005 Gore, Monte Vol!

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT GF COLORADO

Case No. 2005-WM-377 (BNB}

 

BEPOSITIGN OF:
October 31, 2005

MONTE GORE, VOLUME 1

 

MOISES CARRANZA-REYES,

Plaintiff,

Vv.

PARK COUNTY, a public entity of the State of Colorado and its
governing board, THE PARK COUNTY BOARD OF COUNTY
COMMISSIONERS; PARK COUNTY SHERIFF'S OFFICE, a public entity
of the State of Colorade; FRED WEGENER, individually and in
Kis official capacity as Sheriff of Park County, Colorado;
MONTE GORE, individually and in his capacity as Captain of
Park County Sheriff's Department; VICKIE PAULSEN, individually
and in her official capacity as Registered Nurse for Park
County, Colorado; JAMES BACHMAN, &.D., individually and in his
officlal capacity as Medical Director of the Park County Jail,

Defendants.

 

TAKEN PURSUANT TO NOTICR AND AGREEMENT on behalf of the
Plaintiff at 824 Castello, Fairplay, Colorado at 9:04 a.m.
before Theresa A. Coffman, Federal Certified Realtime
Reporter, Registered Professional Reporter and Netary Public
within Colorado.

COFFMAN REPORTING 303 ,893,0202
* SUBJECT TO CONFIDENTIALITY DESIGNATIONS *

10/31/2005 Gore, Monte Val!

APPEARANCES
WILLIAM A. TRINE, ESQ,
Trine & Metcalf, P.c.
1435 Arapahoe
Boulder, Colorado 80302

For the Plaintiff:

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Denver, Colorado $0218

ANDREW D. RINGEL, BESO.

Hall & Evans, LLC

1125 17th Street

Suite 609

Denver, Colorado 80202

For the Defendants

Park County, Park
County Board of
Commissionars, Park
County Sheriff's Office,
Wegener and Gore:

STEPHEN A. GROONE, ESO,

P.O, Box 1373

S01 Main Street

Fairplay, Colorade 80440

MELANIE B, LEWIS, ESQ.

Berg Hill Greenleaf 4 Ruscitti LLP
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Boulder, Colorado 60302

For the Defendant
Paulsen:

For the Defendant ANDREW W. JURS, ESQ,

Bachman: Johnson McConaty & Sargent, F.C.
400 South Colorado Bovlevard
Suite 300
Glendale, Colorado $0246

Also Present: None

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10/31/2005 Gere, Monte Vall

INDER

EXAMINATION OF MONTE GORE
Volume 1
October 31, 2005

By
By
By
By
By
By
By

Mr.
Mr,
Mr.
Mr.
Nr.
Ms.
Mr.

Trine
Kordick
Archuleta
Ringel
Groome
Lewis
Jurs

DEPOSITION EXHIBITS:

1

Park County Jail Sergeants Daily Logs,
various dates and attachments

The Park County Jail's Response to the

Page 1 of 3

PAGE

INITIAL
REFERENCE
144

64

Consulate General of Mexico Regarding the

Medical Concerns of Moises Carranza, 3/14/03

Waster Control Logs, 3/1 through 3/10 70
Park County Jail Policies and Procedures, 194
Establishment of Health Care Unit Policy and
Procedure Manual

Park County Sheriff's Office Policy and 22
Procedure Manual, 11/1/00, three pages

Policy, "Communicable Diseases" 39

Policy and Procedure Manual, Housekeeping, 190

description of cleaning/disinfecting,
Bates Nos, 0416, 1530, 1528, 1529

(Original exhibits attached to originai deposition; copy

exhibits included ia continuing exhibit File; copies provided

to counsel as requested.)

10/37/2005 Gore, Monte Voll

REQUESTED PORTIONS OF TESTIMONY:

Request for document production

or information

Certified question

Instruction not Lo answer

Other requests or marked testimony

REFERENCES TO BXHIBITS MARKED PREVIOUSHY:

(None,}

Paulsen’s A-19

PAGE

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10/31/2005 Gore, Monte Voll

we're going to take the inmate whether I get permission
or nol,
Q, {BY MR. TRINE} And wouldn't you be able to

take that inmate without even calling INS in an

emergency?
A, If it was deemed an emergency.
Qa. You could?
A. Yes.
Oo. Okay. In other words, you wouldn’t have to

ait for INS to provide transportation in an emergency,
would you?

A. Well, if we had an emergency taking place,
then typically we're going to respond to that as an
emergency,

Q. So | guess the answer to my question is you
could go that without INS providing the transportation;
is that right?

A. And we did, We actually -- I had my staff
do the transportation. And i believe that was due to the
nurse feeling that he had to see a doctor.

a. So at 8:35, Muldoon was called and told to
stand by, he might have to transfer someone to Summit
County, right?

A. Yes.

Q. And then at 8:50, Deputy Theobald went to

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Case 1:05-cv-00377-WDM-BNB Document 167-4

10/31/2005 Gore, Monts Voli

COFFMAN REPORTING & LITIGATION SUPPORT, INC.
1440 Blake Street, Suite 320
Denver, Colorade 60202
303,893,0202

WILLIAM A, TRINE, ESQ.
Trine & Metcalf, PC,
1435 Arapahoe

Boulder, Colorado 80302

Re: Carxanza-Reyes v, Park County, et al.
Deposition of: MONTE GORE, VOLUME I

Date of Deposition; October 31, 2005
Trial Date: Wane set

Enclosed is:

{ } ORIGINAL TRANSCRIPT, Please retain unopened
original until it is required by any party in a
trial or hearing in the above matter.

( ) ORIGINAL SIGNATURE PAGE
__ with _ without corrections: copies provided to
other counsel; please append these sealed originals
to original transcript in your possession.

{ }) No signature ox correction sheets received.

{ } Review of transcript net requested.

{ } 30-day review unavailable. Signature/correction
pages forwarded to counsel handling signature.
Original filed in anticipation of trial date.

See letter within deposition.

{ J Copy of deposition, signature and correction pages
sent to deponent. See letter within deposition.

{ } Signature not applicable.

Original transcript filed on via_

Follow-up documentation filed on via

cet Attending counsel

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Filed 02/15/07

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